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VIA ECF

The Honorable Analisa Torres, U.S.D.J.

U.S. District Court, Southern District of New York
500 Pearl Street

New York, New York 10007

Re: = Garcia v. S&D Security and Data Inc. et al
Case No.: 23-cv-04291

Dear Honorable Judge Torres:

This law firm represents Plaintiff Jorge Garcia (the “Plaintiff’) in the above-referenced
matter. This letter is filed jointly with Defendants S&D Security and Data Inc.’s (the “Corporate
Defendant’) and David Amir’s (the “Individual Defendant”, and together, the “Defendants”).

Pursuant to Your Honor’s Individual Motion Practice Rule I(C), this letter respectfully
serves as a joint request to extend the parties’ joint letter and proposed case management plan
filing deadline of October 9, 2023 [see Dckt. No. 20] to, through and including, a date and time
after November 9, 2023.

This letter further serves as a request to extend Defendants’ answer filing deadline from
October 9, 2023 to, through and including, a date and time after November 9, 2023.

The basis for these requests is that the parties are continuing to explore the possibility of
an early resolution of this action. The parties are hopeful that they will be in a position to conclude
their alternative dispute resolution discussions on or before November 9, 2023, thereby obviating
the need for further Court intervention.

A second, independent basis also necessitates the instant request. The Individual Defendant
has had limited availability the last few weeks, due to a personal matter.

Thank you, in advance, for your time and attention to this matter.

GRANTED. By November 10, 2023, the parties shall file their joint letter and case
management plan. Defendants shall also file their answer by November 10, 2023.

SO ORDERED.
Dated: October 10, 2023 O-
New York, New York ANALISA TORRES

United States District Judge
